  Case 19-50848          Doc 23   Filed 07/20/20 Entered 07/20/20 11:33:45                       Desc Main
                                    Document     Page 1 of 1




                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA

In re:
                                                                                          Bky No. 19-50848
Anthony J. Lastovich,                                                                           Chapter 13

                   Debtor.


                                              ORDER




         This case is before the court on the motion of Caterpillar Financial Services

Corporation.

         Based on the motion and the file,

IT IS ORDERED: The deadline for Caterpillar Financial Services Corporation to file its proof

of claim is extended to June 22, 2020.

Dated:       July 20, 2020




                                                  /e/ Robert J. Kressel
                                                   Robert J. Kressel
                                                   United States Bankruptcy Judge




                                                           NOTICE OF ELECTRONIC ENTRY AND
                                                           FILING ORDER OR JUDGMENT
                                                           Filed and Docket Entry made on 07/20/2020
                                                           Lori Vosejpka, Clerk, by AMM




4828-1869-0499\2
